Case 22-11170-amc          Doc 58    Filed 04/16/24 Entered 04/16/24 13:52:33             Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                              PHILADELPHIA DIVISION

 In re:
                                                              Bankruptcy No. 22-11170-mdc
 Bobby L Fisher
                                                              Chapter 13
           Debtor
 CitiMortgage, Inc.                                           Hearing Date: May 14, 2024
                                                              Hearing Time: 11:00 A.M.
          Movant                                              Location: 900 Market Street, Suite 202
                                                              Philadelphia, PA 19107
 v.
                                                              Courtroom Number #4
 Bobby L Fisher
           Debtor/Respondent
 KENNETH E. WEST, Esquire
          Trustee/Respondent



      NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE
          CitiMortgage, Inc.has filed a Motion for Relief from the Automatic Stay pursuant to 11
 U.S.C. §362(d)(1); for costs and disbursements of this action, and for such other and further
 relief as to the Court may deem just and proper.

          Your rights may be affected. You should read these papers carefully and discuss
          them with your attorney, if you have one in this bankruptcy case. (If you do not
          have an attorney, you may wish to consult an attorney.)


          1. If you do not want the court to grant the relief sought in the Motion or if you
             want the court to consider your views on the motion, then on or before May 1, 2024,
             you or your attorney must filed a response to the Motion. (see Instructions on next
             page).

                 (a) File an answer explaining your position at: 900 Market Street, Suite 202
                     Philadelphia, PA 19107.

          If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
          enough that it will be received on or before the dates stated above; and

                 (b) Mail a copy to the movant’s attorney:




                                                                                           22-11170-mdc
                                                                                              22-083380
                                                                                                   MFR
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                  Michelle L. McGowan, Esquire
                  13010 Morris Rd., Suite 450
                  Alpharetta, GA 30004
                  Telephone: 470-321-7112
                  Email: mimcgowan@raslg.com

       2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
          above and attend the hearing, the court may enter an order granting the relief
          requested in the motion.

       3. A hearing on the Motion is scheduled to be held before Judge Magdeline D.
          Coleman on May 14, 2024, at 11:00 A.M. in Courtroom Number #4, United States
          Bankruptcy Court, 900 Market Street, Suite 202 Philadelphia, PA 19107. Unless
          the court orders otherwise, the hearing on this contested matter will be an evidentiary
          hearing.

       4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
          you request a copy from the attorney named in paragraph 1(b).

       5. You may contact the Bankruptcy Clerk’s Office in Philadelphia at 215-408-2800 or
          Reading at 610-208-5040 to find out whether the hearing has been canceled because
          no one filed a response.




Dated: April 16, 2024

                                     Robertson, Anschutz, Schneid, Crane
                                     & Partners, PLLC
                                     Attorney for Secured Creditor
                                     13010 Morris Rd., Suite 450
                                     Alpharetta, GA 30004
                                     Telephone: 470-321-7112
                                     By: /s/ Michelle L. McGowan
                                     Michelle L. McGowan
                                     PA Bar Number 62414
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